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                                                                     United States District Court
                                                                       Southern District of Texas

                                                                          ENTERED
                                                                        October 02, 2020
                   IN THE UNITED STATES DISTRICT COURT                 David J. Bradley, Clerk
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION



UNITED STATES OF AMERICA,                  §
                                           §
                   Plaintiff,
                                           §
V.                                         §      CRIMINAL NUMBER H-19-883
                                           §
MARLENE INGRID BOVELL,                     §
                                           §
                   Defendant.              §


                      MEMORANDUM OPINION AND ORDER


      On December 10,       2019,    a four-count indictment was filed

charging    defendant    Marlene      Ingrid     Bovell   ("Defendant")         with

violating     18   U.S.C.    §      1425   (b)   by   fraudulently    obtaining

naturalization and citizenship by falsely stating that she had

never been arrested, cited, or detained by law enforcement for any

reason or convicted of a crime when she had been arrested,

convicted, and imprisoned for felony theft in the Royal Cayman

Islands.      Pending before the court are Defendant's Motion to

Suppress (Docket Entry No. 20) ( "First Motion to Suppress") and

Defendant's Second Motion to Suppress and Dismiss (Docket Entry

No. 26)    ("Second Motion to Suppress").             For the reasons stated

below, Defendant's motions will be denied.


      Indictment, Docket Entry No. 1, p. 1. All page numbers for
      1

docket entries in the record refer to the pagination inserted at
the top of the page by the court's electronic filing system,
CM/ECF.
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                               I.     Background

     Defendant is a naturalized U.S. citizen from Trinidad and

Tobago.2     On her January 6, 2016, application for naturalization

Defendant stated that she had never committed, been arrested for,

been charged for, or been convicted of a crime.3          In fact Defendant

was convicted of theft in the Cayman Islands in October of 2008.4

     In 2018 Defendant obtained employment as an assistant district

attorney     for    the   Harris     County   District   Attorney's   Office

( "HCDAO")   5
                   On February 14,    2018,   Defendant was summoned to a

meeting where her HCDAO supervisors revealed they had learned of a

Cayman Islands news article from December of 2010 that discussed

the conviction for theft of a "Marlene Bovell-Swanson." 6             During

the meeting the HCDAO Human Resources Director asked Defendant if

she was the person described by the news article. 7               Defendant


     2
      Homeland Security Report of Investigation, Exhibit 7 to First
Motion to Suppress, Docket Entry No. 20-6, p. 2; Application for
Naturalization, Exhibit 8 to First Motion to Suppress, Docket Entry
No. 20-7, p. 2 � 8.
     3
      Approved Application for Naturalization, Exhibit 8 to First
Motion to Suppress, Docket Entry No. 20-7, p. 15, questions 22-25.
     4
      Second Motion to Suppress, Docket Entry No. 26, p. l; Royal
Cayman Islands Police Service Criminal Records Office, Exhibit 9 to
First Motion to Suppress, Docket Entry No. 20-8, p. 1.
     5
         First Motion to Suppress, Docket Entry No. 20, p. 1.
     6
      Id. at 1-2; see Cayman Compass News Article, Exhibit 2 to
First Motion to Suppress, Docket Entry No. 20-1, p. 1.
     7
      First Motion to Suppress, Docket Entry No. 20, p. 2;
Transcript of February 14, 2018, Meeting, Exhibit 1 to First Motion
to Suppress, Docket Entry No. 26, p. 21.
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admitted that she was the person and that on her employment
application she falsely denied having ever been arrested, charged,
or convicted of any offense.8       Defendant also stated that she did
not "have to" disclose the matter when she applied for a passport
to come to the United States. 9       The HCDAO terminated Defendant's
employment the same day.10
     The HCDAO obtained information from the Royal Cayman Island
Police Service confirming that Defendant had been convicted of a
crime and referred the matter to the Department of Homeland
Security ("DHS") to investigate for possible benefits fraud.11             A
DHS agent confirmed Defendant's criminal history and that Defendant
had stated when applying for naturalization that she had not
committed, been arrested for, charged for, or convicted of any

crime.12     On December 10, 2019,     Defendant was indicted on four
counts of Fraud in the Procurement of Citizenship in violation of
18 U.S.C.    §   1425 (b) . 13



     8
      Transcript of February 14, 2018, Meeting, Exhibit 1 to First
Motion to Suppress, Docket Entry No. 20, pp. 21-22.
     9
         Id. at 23.
     1   °First Motion to Suppress, Docket Entry No. 20, p. 3.


      Id. at 5; see Department of Homeland Security Report of
     12

Investigation, Approved September 13, 2018, Exhibit 10 to First
Motion to Suppress, Docket Entry No. 20-9, p. 2.
     13   Indictment, Docket Entry No. 1.
                                    -3-
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      Defendant has filed two motions to suppress.                        Defendant's
First Motion to Suppress argues that the February 14, 2018, HCDAO
meeting was an involuntary interrogation in which she was compelled
to   give      self-incriminating         testimony       and    that     Defendant's
admissions and any fruit from the interrogation must therefore be
suppressed. 14          Defendant's Second Motion to Suppress argues that
under Cayman Island law an expunction of her conviction requires
the court to suppress testimony and evidence related to the
conviction. 15


                  II.     Defendant's First Motion to Suppress

      Defendant argues that the February 14, 2018, meeting was an
unconstitutional interrogation because it involved Defendant's
State employer compelling her to give answers that might subject
her to future criminal proceedings in violation of her Fifth
Amendment right against self-incrimination. 16                   See Lefkowitz v.
Turley,      94    S.     Ct.   316,   322-23    (1973)     (holding      that   self­
incrimination           protections    applied    in   the      context    of    State
compulsory interrogations of State employees) .                    Defendant also
argues that all evidence obtained by DHS investigators before her
indictment should be suppressed because the HCDAO referred her case



      14
           First Motion to Suppress, Docket Entry No. 20, p. 7.
      15
           Second Motion to Suppress, Docket Entry No. 26, p. 3.
      16
           First Motion to Suppress, Docket Entry No. 20, p. 6.
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to the DHS after conducting the February 14, 2018, meeting. 17             The

government disagrees and also argues that there is no need to
consider the motion at this time because it does not plan to use
this evidence at trial "unless unforeseen circumstances make it
necessary." 18
      The government has explained that it plans to prove its case
through the testimony of witnesses and evidence unrelated to the
HCDAO meeting,        such as testimony of the Royal Cayman Islands
· detective who investigated the original crime and Defendant's
interview with United States         Pretrial Services following her
arrest. 19     Since Defendant has not explained how this alternative
evidence is either insufficient or causally connected to the HCDAO
meeting, there is no need for the court to consider Defendant's
motion at this time.        The court will defer ruling on the First
Motion to Suppress until trial.

               III.   Defendant's Second Motion to Suppress

      Defendant argues that the court is bound by treaty to respect
Cayman Islands law under which Defendant's conviction has been
expunged and therefore cannot be used as evidence. 20 The government


      17
           Id. at 14-17.
       Government's Response to Defendant's Motion to Suppress
      18

 ("Government's First Response"), Docket Entry No. 21, p. 2.


      second Motion to Suppress, Docket Entry No. 26, p. 3; see
      20

Declaration of Expungement by Operation of Law Pursuant to Section
                                                    (continued ... )
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does not disagree with the applicability of Cayman Islands law but

argues that it permits the admission of Defendant's conviction. 21
     Subsection 27(1)(a) of the Cayman Islands Criminal Records
(Spent Convictions) Law (2018 Revision) requires that "no evidence
shall be admissible in proceedings before a judicial authority to
prove that a person has[:] (i) committed; (ii) been charged with;
(iii) been prosecuted for; (iv) been convicted of; or (v) been
sentenced for, the offense which was the subject of an expunged
criminal record. "22 Subsection 27(1)(b) states that "a person shall
not, in any proceedings, be asked and, if asked, may answer in the
negative any question relating to the person's criminal record
which cannot be answered without acknowledging or referring to [the
expunged conviction] . "23      Subsection 27(2),      however,    allows a
"judicial authority" to "require or admit the evidence in question"
if "satisfied that justice cannot be done except by requiring or
admitting" the evidence. 24       The government argues that justice


           continued)
     20 ( •••

15 of the Criminal Records (Spent Convictions) Law (2018 Revision)
("Declaration of Expungement"), Exhibit 3 to Second Motion to
Suppress, Docket Entry No. 26-3, pp. 1-2.
      Government's Response to Defendant's Second Motion to
     21

Suppress ("Government's Response to Second Motion to Suppress"),
Docket Entry No. 27, pp. 2-3.
      Cayman Islands Criminal Records (Spent Convictions) Law (2018
     22

Revision), Exhibit 2 to Government's Response to Second Motion to
Suppress, Docket Entry No. 27-2, pp. 17-18.
     23
          Id. at 18.


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requires    the    admission      of   evidence     relating   to   Defendant's
conviction notwithstanding the expunction.25
     Foreign pardons and expunctions are not generally recognized
under United States immigrations laws.              Le v. Lynch, 819 F.3d 98,
111 (5th Cir. 2016); Mullen-Cofee v. I.N.S., 976 F.2d 1375, 1379

(11th Cir. 1992).      "[E]xpungement of [a] penal record or any other

act of clemency granted by a foreign state" does not remove a
criminal conviction as a ground of                 ineligibility    for entry.

22 C.F.R.    §    40.2l(a) (5).        Accordingly,   courts have generally
recognized that foreign expunctions do not prevent consideration of
the relevant foreign conviction.              See, e.g., Le, 819 F.3d at 111;
Danso v. Gonzales, 489 F.3d 709, 717 (5th Cir. 2007).                Moreover,
the expunction of Defendant's conviction was not in effect when she
made the alleged false representations on her January 6, 2016,
naturalization application.26           The Cayman Islands Criminal Records
Law that Defendant relies on was first enacted on October 24, 2016,
and Defendant cites the revised version dated February 28, 2018.27
The Cayman Islands Expungement Board did not declare Defendant's
conviction expunged until March 12, 202 O.28              The Cayman Islands

      Government's Response to Second Motion to Suppress, Docket
     25

Entry No. 27, p. 2.
      Approved Application for Naturalization, Exhibit 8 to First
     26

Motion to Suppress, Docket Entry No. 20-7, p. 1.
      Cayman Islands Criminal Records (Spent Convictions) Law (2018
     27

Revision), Exhibit 2 to Government's Response to Second Motion to
Suppress, Docket Entry No. 27-2, p. 2.
      Declaration of Expungement, Exhibit 3 to Second Motion to
     28

Suppress, Docket Entry No. 26-3, p. 1.
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Criminal Records (Spent Convictions) Law authorizes those who have
had their records expunged to deny their relevant criminal history
when asked about it in official proceedings,                 but it does not
retroactively        authorize     denials     that     occurred   before    the
expunction. 29      For these reasons, the court concludes that under

United States and Cayman Islands law the expunction does not excuse
Defendant's failure to truthfully disclose her criminal history on
her application for naturalization;              and,    accordingly,    justice
requires that evidence of Defendant's conviction be admitted in
this case.       Subsection 27(2) of the Cayman Islands Criminal Records
Law    permits      the   admission   of     evidence   related    to   expunged
convictions if otherwise justice cannot be done. 30                Accordingly,
Defendant's Second Motion to Suppress will be denied.

                          IV.    Conclusions and Order

       For the reasons stated above, Defendant's Motion to Suppress

(Docket Entry No. 20) is DEFERRED until trial, and Defendant's

Second Motion to Suppress and Dismiss (Docket Entry No. 26) is
DENIED.        The court will conduct a final pretrial conference in


      See Cayman Islands Criminal Records (Spent Convictions) Law
       29

(2018 Revision), Exhibit 2 to Government's Response to Second
Motion to Suppress, Docket Entry No. 27-2, pp. 17-18 (stating that
a person shall be treated as having never committed, been charged
with, been prosecuted for, been convicted of, or been sentenced for
a crime when the criminal record "has been expunged") (emphasis
added).
       30
            Id. at 18 � 27(2).
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Courtroom 9-B,    9th Floor,    United States Courthouse,         515 Rusk

Street, Houston, Texas 77002, on Thursday,          October 15, 2020, at

11:30 a.m.

     SIGNED at Houston, Texas, on this       :2.a   day of October, 2020.




                                                  SIM LAKE
                                     SENIOR UNITED STATES DISTRICT JUDGE




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